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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


     RAYMOND LAMAR BROWN, JOHN
     CLARK, DESMOND ROGERS, TODD           1:20-cv-7907-NLH-KMW
     FORD, JR. and CARLOS SOLER,
     individually, and on behalf
     of others similarly situated

                    Plaintiffs,

           v.                              ORDER
     CHARLES WARREN, in his
     official capacity as Warden,
     Cumberland County Department
     of Corrections, and
     CUMBERLAND COUNTY, NEW
     JERSEY,

                    Defendants.


       For the reasons expressed on the record in the Order to

 Show Cause Hearing held by the Court on August 5, 2021, and for

 the reasons expressed on the record in the previous hearing held

 by this Court on May 25, 2021, (see ECF No. 142 at 494),

       IT IS HEREBY on this 6th day of August, 2021,

       ORDERED that by August 12, 2021 at 5 p.m., Defendants shall

 produce to Plaintiffs all documents and communications

 concerning or relating to the May 11, 2021 “shakedown” event

 that served as the basis for this Court’s hearings held on May

 19, 20, and 25, including all text messages, e-mails, voice

 mails, or any electronic communications of any kind that relate

 to the shakedown, as well as any records of the Cumberland
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 County Jail that relate to the shakedown in all forms, including

 both paper and electronic.




                                             /s Noel L. Hillman
 At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




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